                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR10-4083-MWB
 vs.
                                                               ORDER
 ROBERT MCNAIRY,
               Defendant.

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       This matter comes before the court on the defendant’s motion to reduce sentence
(docket no. 508). The defendant filed such motion on August 27, 2012.          The court
previously determined that it could not rely on Amendment 750 (Parts A and C only) to
reduce the defendant’s sentence under 18 U.S.C. § 3582(c)(2). Nothing the defendant
states in his motion leads the court to a different outcome. The defendant’s reliance on
Dorsey v. United States, 567 U.S. ___, ___, 132 S. Ct. 2321, 2326 (2012), which held
“the new, more lenient mandatory minimum provisions” of the Fair Sentencing Act “apply
to offenders who committed a crack cocaine crime before August 3, 2010 but were not
sentenced until after August 3”, is unavailing because the jury held the defendant
responsible for at least 28 grams of crack and he had a prior conviction for a felony drug
offense. So, even under the Fair Sentencing Act, the defendant still faces a mandatory
minimum of 120 months imprisonment. See 21 U.S.C. § 841(b)(1)(B). Accordingly, the
defendant’s motion to reduce sentence (docket no. 508) is denied.




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  IT IS SO ORDERED.
  DATED this 9th day of October, 2012.


                                         __________________________________
                                         MARK W. BENNETT
                                         U. S. DISTRICT COURT JUDGE
                                         NORTHERN DISTRICT OF IOWA




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